Case 4:18-cv-01044-HSG Document 69 Filed 10/05/18 Page 1 of 8

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October 5, 2018

Magistrate Judge Joseph C. Spero
United States District Court for the
Northern District of California
450 Golden Gate Ave.

San Francisco, CA 94102

Re: TechShop, Inc. v. Rasure, et al.,
Case No. 18-cy-01044-HSG-JCS
Joint Letter Brief

Dear Judge Spero,
PLAINTIFF’S STATEMENT

In accordance with your Standing Order regarding discovery disputes, Plaintiff Doris Kaelin, as
trustee for the estate of TechShop, Inc. (hereinafter “TechShop”), and Defendants Dan Rasure,
TechShop 2.0 LLC, and TechShop 2.0 San Francisco LLC (hereinafter “Rasure’’) file this Joint
Letter Brief regarding a discovery dispute. In addition to other occasions, counsel for the parties
met and conferred on September 27 and 28, in person, for a total of more than 3 hours regarding
the matters that are the subject of this letter. Discovery in this case is set to close on November
2, 2018.

There is one issue in dispute: what consequences to/response should there be for Defendants’
failure to produce materials responsive to Plaintiff's Requests for Production served on June 26
and the Court’s Orders of September 13 and 24?

Plaintiff's Statement:

As detailed in prior filings by Plaintiff, Defendants have committed discovery misconduct.
Further, the Defendants are in contempt of this Court’s Orders of September 13 and 24. Plaintiff
has been severely prejudiced by Defendants’ misconduct.

Factual Background

Plaintiff served basic Requests for Production on June 26, including a request for Defendants’
Initial Disclosures which had not been produced. For a recounting of event prior to September
10, Plaintiff refers the Court to Plaintiff's prior briefing in this regard. See Dkt. # 53, 62. On
September 10, this Court ordered an in-person meet and confer on September 13, in the jury
room. On September 13, a four hour meet and confer was held (to which Defendants’ counsel
was ~15 minutes late). At the meet and confer, the Court stated that responsive documents were
to be “produced immediately.” Further, Defendants’ counsel provided signed responses
certifying that “amended” responses were mailed August 24. At the end, disputes remained and
the Court largely ordered production as sought by Plaintiff (though the Court did not order
Case 4:18-cv-01044-HSG Document 69 Filed 10/05/18 Page 2 of 8

PARRISH LAW OFFICES P
age 2

production of membership lists in the form sought by Plaintiff). The Court then issued an Order
requiring production, including a privilege log, by September 21.

No documents were produced on September 21 or before. On September 21, a 45 minute, in-
person, meet and confer directed to a Protective Order was held (to which Defendants’ counsel
was 20 minutes late and unable to meet and confer for another 25 minutes). There was no
discussion of an extension to comply with the Court’s Order requiring production. Instead,
without conducting a meet and confer on the topic, at approximately midnight on September 21,
Defendants filed an “administrative motion” for an extension until Tuesday, September 25.
Plaintiff opposed and this Court granted the extension. No documents were produced on
September 21, 22, or 23. On September 24, some documents largely consisting of undated
Facebook posts were produced but they were, again, woefully inadequate. For example, no
financial forecasts, email traffic, or privilege logs were included. Some revenue spreadsheets
printed on September 22, and formatted as a PDF were produced. No documents were produced
on September 25.

After the date for compliance ordered by the Court, Defendants produced additional materials on
September 26 and 27. Again, e.g., no financial forecasts or privilege logs were included. An in-
person meet and confer of approximately 15 minutes was held on September 27 (to which
Defendants’ counsel was ~45 minutes late). At the meet and confer, Defendants’ counsel stated
that she was unprepared to discuss the status of the production except for her request for an
extension.

On September 28, a 3 hour, in-person, meet and confer was held (to which Defendants’ counsel
was prompt). While Plaintiff's counsel was driving to the meet and confer, Defendants produced
some email traffic and financial forecasts. At the meet and confer, it was determined that the
production through that time largely consisted of Mr. Rasure’s emails accounts, text messages
from his phone, and some Facebook posts. As recounted by Defendants’ counsel, production
from at least six other individuals (including Mrs. Rasure, Paul Chambers, Joe Murphy, Jeremiah
Johnson, Jerry Gable, and John Hunt) had not begun, no computer hard drives had been
searched, and more than 750 threads from a private Facebook group had not been produced.
After Plaintiff served a draft of this letter, on Monday October 1, Defendants served the
“privilege log” attached hereto and contend that complies with their obligations. Additional
Rasure emails were produced on October |. None of the production to date identifies which
Request, if any, the production is responsive to. At this point, Plaintiff is uncertain whether
Defendants have produced the materials identified in their Initial Disclosures.

Despite the certifications, no mailed copy of the responses due August 13 or promised August 24
has ever been received. From June 26 (when the Requests were served) to October 5 is 101
days. From October 5 to November 2 is 28 days. From the date Plaintiff filed its motion to
compel through October 5 is 31 days (i.e., >20% of the entire discovery period). The deadline
for amending the pleadings passed on August 20. In addition to Plaintiff’s First Set of Requests
for Production served on June 26, Defendants served Requests for Production at the meet and
confer held on September 13 and served Interrogatories on October 3. No other discovery has
taken place (though Plaintiff did produce Initial Disclosures on June 26).
Case 4:18-cv-01044-HSG Document 69 Filed 10/05/18 Page 3 of 8

PARRISH LAW OFFICES Page 3

Plaintiff's Final Substantive Position/Proposed Compromise

Plaintiff's final position is that discovery misconduct has occurred, that the Defendants are in
contempt of this Court’s Orders of September 13 and 21, and that Plaintiff has been severely
prejudiced as a result.

At this point, more than 11 hours of meet and confers regarding the Requests has been conducted
and still the Requests have not been complied with. As detailed above, Defendants are only
beginning their discovery response. Plaintiff believes that the certifications of “mailing” were
false and offered for the purpose of “excusing” a failure to respond on August 13. To date,
Defendants’ misconduct has prevented Plaintiff from: 1) discovering information that might have
resulted in amendment of the pleadings; 2) serving additional written discovery; 3) conducting
meaningful depositions; 4) filing a motion for summary judgment; and 5) knowing the evidence
in support of Defendants’ claims and defenses. Throughout this case, Plaintiff has been forced to
make a series of decisions, not on the merits of the case, but on Defendants’ discovery
misconduct. Thus, Defendants’ misconduct has prevented Plaintiff from litigating the merits of
the case.

Putting all of the other misconduct aside, the Defendants were/are in contempt of the Court
Orders of September 13 and 21. Simply as one concrete example, in violation of the Court’s
Order, no “privilege log” was produced until October | and that document is woefully
inadequate and Plaintiff does not know what additional materials are being actively withheld or
on what basis.

Plaintiff believes that the only realistic response is to issue the evidentiary sanctions previously
sought, thereby limiting the case going forward to whether there was a likelihood of confusion
and the amount of damages. Now that there has been production of some financial forecasts and
revenues, Plaintiff is prepared to proceed without additional discovery as long as Defendants are
precluded from supporting their claims/defenses/offsets. As a result, the case will still be tried
on the merits and Plaintiff would need to sustain its burden of showing infringement and
damages. No response/sanction less than that can cure/address the violations here. Even if every
document requested was produced now, that would simply amount to a document dump at the
end of discovery with Plaintiff precluded from digesting it, following up, etc. in any meaningful
way. The relief previously requested should be granted.

DEFENDANTS’ STATEMENT

Counsel were unable to agree on the Introductory paragraphs or the “Factual Background”
above, both of which reflect Plaintiff's view only; Defendants state that the recitation is
argumentative and in some places is inaccurate. (For example, three separate motions, as well as
the progress of discovery were discussed on September 27 and September 28, and counsel for
Defendants also discussed her list of what witnesses would likely need to be deposed in this
case). However, Defendants lack page space here to provide a contrary recitation, but note that
the factual background is set forth both in Defendants’ (Second) Administrative Motion To
Modify Discovery Ruling To Further Enlarge Time For Production Of Documents (Doc. No. 66),
as well as in Defendants’ Administrative Motion To Adjust Case Scheduling Order To Enlarge
The Time For Fact Discovery And Adjust Other Dates Accordingly (Doc. No. 67).
Case 4:18-cv-01044-HSG Document 69 Filed 10/05/18 Page 4 of 8

PARRISH LAW OFFICES Page 4

Fact Discovery in this case is currently set to close on November 2, 2018. Defendants have filed
an administrative motion to modify the case schedule to enlarge the period for Fact Discovery
and add 14 weeks to all remaining dates (Doc. No. 67). Shortly after that motion was filed,
Judge Gilliam scheduled a Case Management Conference for October 23, 2018 (Doc. No. 68).
Defendants have agreed that Plaintiff may have an additional 2 weeks (to November 16) to
complete her Fact Discovery, regardless of whether the Case Schedule is otherwise modified.

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At the conclusion of the attorneys’ “meet and confer” on August 13, the Court ruled on some of
the disputed issues remaining. Defendants have complied with that ruling in producing
documents to the extent feasible (given the volume of documents involved) but have sought
twice relief from the production deadlines set on August 13; the first request was granted (Doc.
No. 65) and the second request is pending (Doc. No. 66).

Through this letter brief (or a motion to compel contemplated thereby), Plaintiff is essentially
seeking an issue sanction, although it is described as an evidence sanction. Either is an extreme
sanction under the circumstances of this case.

While Fed.R.Civ.Proc. Rule 37(b)(2)(A)(ii) empowers the Court to order a disobedient party
“precluded” from supporting or opposing designated claims or defenses, or from introducing
designated matters into evidence, that is an extreme sanction not warranted by the facts here.
There has been no willful obstruction and obfuscation. In considering whether to preclude
evidence, courts consider the party's explanation for failure to comply with the discovery order,
the importance of the precluded evidence, any prejudice suffered by the opposing party, and the
possibility of a continuance.

In this case, those factors do not support the issue and evidence sanctions sought here. Plaintiff's
discovery requests were very broad and encompassed a large volume of material which simply
took much longer than anticipated to collect and to review for privilege and sensitivity, and

which also necessitated extensive redaction. Defendants have acted in good faith and with
reasonable diligence in producing materials as quickly as reasonably feasible under the
circumstances Defendants have:

@ produced a Privilege Log

¢# negotiated and stipulated to a Stipulated Protective Order (Doc. No. 64)

produced the random sample of 10% of Defendants’ customers (members)

# produced all business projections / forecasts prepared from January — September 2018
¢ documentation of revenues (by individual transaction) and most expenses

Defendants have also produced unprivileged responsive documents from Mr. Rasure’s cell
phone, including images, screenshots, documents, and SMS messages. In addition, Mr. Rasure’s
unprivileged responses emails have been produced, except for those still undergoing redaction
(for customer identifying information or privacy/security information).

Defendants have also produced the responsive FaceBook Messenger message threads with
management and other individuals who, by name, presumptively contain responsive information.
The remaining individual FaceBook Messenger message threads were received by counsel from
the vendor after 2am this morning. The remaining items are the emails from the former
employee (which are finally in the hands of the vendor and will be produced in the next few
Case 4:18-cv-01044-HSG Document 69 Filed 10/05/18 Page 5 of 8

PARRISH LAW OFFICES P
age 5

days), and the emails from other employees (which are also now in the hands of the vendor and
will be produced in the next few days).

Should the Court be interested, counsel for Defendants will provide a history report from the
Citrix Sharefile system showing when each batch of documents was produced and when counsel
for Plaintiff accessed the zip file.

Defendants have also taken steps to mitigate the effect of the delay in providing the documents to
Plaintiff, specifically: (1) filing an administrative motion to enlarge the period for Fact Discovery
and adjust the Case Schedule accordingly (Doc. No. 67); and (2) in offering that Plaintiff may
have an additional two weeks for her Fact Discovery.

On the other hand, Plaintiff has not actually shown prejudice from the delay in completing
production of documents. The court already noted on August 13 that Plaintiff is not entitled to
conduct discovery regarding unpleaded claims. Plaintiff has not identified the follow-up
discovery she was not able to serve. The main deponents are already known to both parties and
Plaintiff has not identified which depositions she was unable to conduct on the current state of
production. Moreover, to the extent Plaintiff needs more time: Defendants have already agreed
that Plaintiff can have an additional two weeks of Fact Discovery; and Defendants have already
filed an administrative motion to modify the Case Schedule. Defendants note that Plaintiff asked
for these remedies on August 13 but never filed a motion for that relief.

Under the circumstances, it would be manifestly unfair to prevent Defendants from putting on
any evidence in support of their denials and affirmative defenses. Defendants respectfully
request that the Court deny Plaintiff’s motion or, should the Court deem it appropriate, set a
discovery status conference at which the matters can be reviewed. Should the Court be inclined
to grant the relief requested by Plaintiff, given the severity of the relief requested Defendants
request the opportunity to fully brief the issues.

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Jantigs pis % Dis Storino Ann Draper
Counsel for Plaintiff Counsel for Defendants
Case 4:18-cv-01044-HSG Document 69 Filed 10/05/18 Page 6 of 8

Defendants’ Privilege Log
TechShop, Inc. v Rasure, et al (CAND 4:18-01044-HSG-JCS)

Documents Described By Category Rather Than Individually

 

Category#:

Date Range

DocType

Sender/Recipient/Copyee ‘. ‘4 Category Description Privilege Justification

#Docs W/Held

 

11/14/2017 -
9/6/2018

SMS PDF

Spouses: Dan Rasure; Megan Confidential private SMS text messages Marital communication
Drew Weislander Rasure sent back and forth solely between husband
and wife during the time when they were
validly married, which the spouses intended
to be private and which were in fact kept
private. The subject matters and purposes
of these SMS text messages are also
private. Each of the spouses is a holder of
the privilege and neither of them has

waived the privilege for marital
communications.

Message count
not available
(2251 pages if
printed)

 

12/6/2017 —
8/27/2018

Email PDF

Spouses: Dan Rasure; Megan Confidential private emails sent back and Marital communication
Drew Weislander Rasure forth solely between husband and wife
during the time when they were validly
married, which the spouses intended to be
private and which were in fact kept private.
The subject matters and purposes of these
emails are also private. Each of the spouses
is a holder of the privilege and neither of
them has waived the privilege for marital
communications.

104 emails

 

 

 

11/14/2017 -—
9/27/2018

 

FaceBook
messenger
PDF

 

Spouses: Dan Rasure; Megan Confidential private messages on the Marital communication
Drew Weislander Rasure FaceBook Messenger platform, sent back
and forth solely between husband and wife
during the time when they were validly
married, which the spouses intended to be
private and which were in fact kept private.
The subject matters and purposes of these
messages are also private. Each of the
spouses is a holder of the privilege and
neither of them has waived the privilege for
marital communications.

 

 

 

Message count
not available

 

 

As of 9/30/2018

Page 1 of 3 Pages
Case 4:18-cv-01044-HSG Document 69 Filed 10/05/18 Page 7 of 8

Defendants’ Privilege Log
TechShop, Inc. v Rasure, et al (CAND 4:18-01044-HSG-JCS)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

_Category# |°.Date' Range |" DocType- ‘Sender/Recipient/Copyee. | -- Category Description. |: | Privilege Justification. | #Docs W/Held
4 11/19/2017- | Email PDF | Attorneys: J.P. Deveny; Confidential communications with outside | Attorney client 70 emails
2/16/2018 S.Isaacson; S.Allison; Client: counsel providing, requesting or reflecting | communication; attorney (including next
Dan Rasure; Megan Drew legal advice regarding acquisition of assets | work product category)
Weislander Rasure of TechShop, Inc. and/or its subsidiary
LLCs, due diligence, agreement
negotiations and documentation, financing
negotiations, and negotiations with
TechShop stakeholders (including
Autodesk)
5 1/4/2018 — Email PDF | Attorneys: J.P. Deveny; Confidential communications with outside | Attorney client 70 emails
2/27/2018 Client: Dan Rasure; Megan counsel providing, requesting or reflecting | communication; attorney (including
Drew Weislander Rasure legal advice regarding leasing and operation | work product above
of makerspace facility in San Francisco, category)
including due diligence, lease negotiation
and documentation, and financing
negotiation and documentation
6 2/24/2018 — Email PDF | Attorneys: J.P. Deveny; Confidential communications with outside | Attorney client 8 emails
9/27/2018 Client: Dan Rasure; Megan counsel providing, requesting or reflecting | communication; attorney
Drew Weislander Rasure legal advice regarding pending litigation work product
7 8/14/2018 — Email PDF | Attorneys: Ann Draper; Communications between counsel and Attorney client 97 emails
9/27/2018 Client: Dan Rasure; Qualified | consultants providing, requesting or communication; attorney
Third Parties: Joshua Carpoff | reflecting electronically stored information | work product
(Vendor); Dustin Blake (Third | pertinent to this litigation and the gathering
Party IT Manager) and analysis thereof.
As of 9/30/2018

Page 2 of 3 Pages
Case 4:18-cv-01044-HSG Document 69 Filed 10/05/18 Page 8 of 8

Defendants’ Privilege Log
TechShop, Inc. v Rasure, et al (CAND 4:18-01044-HSG-JCS)

Documents Described Individually

 

 

agreements and already has the
documents protected by the NDA

.  Bates# 2°. Date . |. DocType: Sendet/Recipient/Copyee Category Description: © Privilege Justification . | #Docs W/Held.
— Range | So : ee _—_ _
DR009770 — | 12/15/2017 Email PDF | Sender: Josh Ewing 15 documents provided by AutoDesk Privacy; NDA agreement 1 email with 15
DR009956 (Autodesk); Recipient: Dan pursuant to an NDA signed by attachments
Rasure Recipient. Plaintiff is a party to these (total of 187
pages)

 

 

 

 

 

 

 

 

 

 

This Privilege Log relates to documents that have been produced, and will be updated at the time of each supplemental productions.

As of 9/30/2018
Page 3 of 3 Pages

 
